       Case 18-51019                Doc 6           Filed 11/10/18 Entered 11/11/18 00:56:55                         Desc Imaged
                                                    Certificate of Notice Page 1 of 3

Information to identify the case:
Debtor 1              Robert Bernard Minnich III                                        Social Security number or ITIN        xxx−xx−4521
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Virginia
                                                                                        Date case filed for chapter 7 11/8/18
Case number:          18−51019


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Robert Bernard Minnich III

2.      All other names used in the
        last 8 years

3.     Address                               3130 Port Republic Road
                                             Harrisonburg, VA 22801

4.     Debtor's attorney                     Hannah White Hutman                                    Contact phone 540−433−2444
                                             Hoover Penrod, PLC
       Name and address                      342 South Main Street
                                             Harrisonburg, VA 22801

5.     Bankruptcy trustee                    Hannah W. Hutman(436156)                               Contact phone 5404332444
                                             Hoover Penrod
       Name and address                      342 S. Main Street
                                             Harrisonburg, VA 22801
                                                                                                               For more information, see page 2 >
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Debtor Robert Bernard Minnich III                                                                                           Case number 18−51019


6. Bankruptcy clerk's office                      116 N. Main St., Room 223                                   Hours open 8 a.m. − 4:30 p.m.
                                                  Harrisonburg, VA 22802
    Documents in this case may be filed at this                                                               Contact phone (540) 434−8327
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 11/8/18


7. Meeting of creditors                           December 17, 2018 at 10:00 AM                               Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              cr mtg, HAR, Clock Tower
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Entrance,, Rockingham Co.
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     Admin Ctr, 20 E. Gay St.,
                                                                                                              Harrisonburg, VA 22802
                                                          *** Valid photo identification required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 2/15/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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                                               United States Bankruptcy Court
                                               Western District of Virginia
In re:                                                                                                     Case No. 18-51019-rbc
Robert Bernard Minnich, III                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0423-5                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 08, 2018
                                      Form ID: 309A                      Total Noticed: 19

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 10, 2018.
db             +Robert Bernard Minnich, III,    3130 Port Republic Road,   Harrisonburg, VA 22801-2207
4670662        +Costco Go Anywhere Citicard,    Centralized Bkcy,   PO Box 790040,    St Louis, MO 63179-0040
4670667        +Mr. Cooper,   Attn: Bankruptcy,    8950 Cypress Waters Blvd,    Coppell, TX 75019-4620
4670674         Virginia Department of Taxation,    Office of Compliance,    PO Box 27407,
                 Richmond, VA 23261-7407

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: hhutman@hooverpenrod.com Nov 08 2018 22:26:09        Hannah White Hutman,
                 Hoover Penrod, PLC,    342 South Main Street,    Harrisonburg, VA 22801
tr             +EDI: BHWHUTMAN.COM Nov 09 2018 03:28:00       Hannah W. Hutman(436156),     Hoover Penrod,
                 342 S. Main Street,    Harrisonburg, VA 22801-3628
ust            +E-mail/Text: ustpregion04.rn.ecf@usdoj.gov Nov 08 2018 22:26:20        USTrustee,
                 Office of the United States Trustee,     210 First Street, Suite 505,     Roanoke, VA 24011-1620
4670660        +EDI: CHASE.COM Nov 09 2018 03:28:00       Chase Card Services,    Attn: Correspondence Dept,
                 PO Box 15298,    Wilmington, DE 19850-5298
4670661        +E-mail/Text: accountservicing@cofcu.org Nov 08 2018 22:26:16        Commonwealth One Federal CU,
                 4875 Eisenhower Ave,    Alexandria, VA 22304-4833
4670663        +E-mail/Text: solutions@mydccu.com Nov 08 2018 22:26:27        Dupont Community Credit Union,
                 140 Lucy Ln,    Waynesboro, VA 22980-3275
4670665         EDI: FORD.COM Nov 09 2018 03:28:00      Ford Motor Credit,     National Bankruptcy Service Center,
                 PO Box 62180,    Colorado Springs, CO 80962
4670664        +E-mail/Text: bkl@firstcitizens.com Nov 08 2018 22:26:25        First Citizens Bank & Trust,
                 100 E Tryon Rd,    Raleigh, NC 27603-3581
4670666         EDI: IRS.COM Nov 09 2018 03:28:00      Internal Revenue Service,     PO Box 7346,
                 Philadelphia, PA 19101-7346
4670668        +E-mail/Text: netcreditbnc@enova.com Nov 08 2018 22:26:34        NetCredit,
                 175 W. Jackson Blvd., Suite 1000,    Chicago, IL 60604-2863
4670669        +EDI: AGFINANCE.COM Nov 09 2018 03:28:00       OneMain,    Attn: Bankruptcy,    601 Nw 2nd St,
                 Evansville, IN 47708-1013
4670670        +EDI: AGFINANCE.COM Nov 09 2018 03:28:00       Onemain Financial,    Customer Care NTBS-2320,
                 6801 Colwell Blvd,    Irving, TX 75039-3198
4670671        +E-mail/Text: bankruptcy@prosper.com Nov 08 2018 22:26:28        Prosper Marketplace Inc,
                 PO Box 396081,    San Francisco, CA 94139-6081
4670672        +EDI: RMSC.COM Nov 09 2018 03:28:00      Synchrony Bank/Lowes,     Attn: Bankruptcy,
                 PO Box 965060,    Orlando, FL 32896-5060
4670673        +E-mail/Text: bkr@taxva.com Nov 08 2018 22:26:28        Virginia Department of Taxation,
                 Taxing Authority Consulting Svcs PC,     PO Box 2156,    Richmond, VA 23218-2156
                                                                                                TOTAL: 15

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 10, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 8, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
